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6    Tisha Jamison
7
                         UNITED STATES DISTRICT COURT
8
                        CENTRAL DISTRICT OF CALIFORNIA
9

10   TISHA JAMISON,                          Case No.: 2:20-cv-7459

11
                  Plaintiff,
                                             COMPLAINT AND DEMAND FOR
12
     v.                                      JURY TRIAL

13                                               1. TCPA, 47 U.S.C. § 227
     MERRICK BANK,                               2. RFDCPA, Cal. Civ. Code § 1788
14                                               3. Intrusion Upon Seclusion –
                  Defendant.                        Invasion of Privacy
15

16

17                 COMPLAINT AND DEMAND FOR JURY TRIAL
18
            Plaintiff Tisha Jamison (“Plaintiff” or “Ms. Jamison”), through her
19
     attorneys, alleges the following against Defendant Merrick Bank, (“Merrick” or
20

21   “Defendant”):

22                                 INTRODUCTION
23
          1. Count I of Plaintiff’s Complaint is based upon the Telephone Consumer
24
            Protection Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute
25




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          that broadly regulates the use of automated telephone equipment. Among
1

2         other things, the TCPA prohibits certain unsolicited marketing calls, restricts
3
          the use of automatic dialers or prerecorded messages, and delegates
4
          rulemaking authority to the Federal Communications Commission (“FCC”).
5

6
       2. Count II of Plaintiff’s Complaint is based upon Rosenthal Fair Debt

7         Collection Practices Act (“RFDCPA”), CAL. CIV. CODE § 1788, which
8
          prohibits debt collectors from engaging in abusive, deceptive and unfair
9
          practices in connection with the collection of consumer debts.
10

11     3. Count III of Plaintiff’s Complaint is based upon the Invasion of Privacy -

12        Intrusion upon Seclusion, as derived from § 652B of the Restatement
13
          (Second) of Torts. § 652B prohibits an intentional intrusion, “physically or
14
          otherwise, upon the solitude or seclusion of another or his private affairs or
15

16        concerns… that would be highly offensive to a reasonable person.”
17                          JURISDICTION AND VENUE
18
       4. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47 U.S.C. § 227.
19
       5. Jurisdiction of this Court also arises under 28 U.S.C. § 1332 because (1) the
20

21        matter in controversy exceeds the sum or value of $75,000.00 and (2) Plaintiff
22
          and Defendant are citizens of different States.
23
       6. Supplemental jurisdiction of this Court also arises under 28 U.S. Code § 1367
24

25
          as the State Law claims are so related to the claims in the action within such



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          original jurisdiction that they form part of the same case or controversy under
1

2         Article III of the United States Constitution.
3
       7. Venue is proper pursuant to 28 U.S.C. 1391(b)(2) in that a substantial part
4
          of the events or omissions giving rise to the claim occurred in this District.
5

6
       8. Defendant transacts business here; therefore, personal jurisdiction is

7         established.
8
                                         PARTIES
9
       9. Plaintiff is a natural person residing in California.
10

11     10. Plaintiff is a debtor as defined by Cal. Civ. Code § 1788.2(h).

12     11. Plaintiff is a “person” as defined by Cal. Civ. Code § 1788.2(g).
13
       12. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
14
       13. Defendant is attempting to collect on a “consumer debt” as defined by Cal.
15

16        Civ. § 1788.2(f).
17     14. At all relevant times herein, Defendant Merrick, was a company engaged, by
18
          use of mails and telephone in the business of collecting a debt from Plaintiff
19

20
          which qualifies as a “debt,” as defined by Cal. Civ. Code § 1788.2(d).

21        Defendant can be served with process through at its principle place of business
22
          located at 10705 South Jordan Gateway, Suite 200, South Jordan UT 84095.
23

24

25




                          COMPLAINT AND DEMAND FOR JURY TRIAL
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       15. Defendant acted through its agents, employees, officers, members, directors,
1

2         heirs, successors, principals, trustees, sureties, subrogees, representatives,
3
          and insurers.
4
                             FACTUAL ALLEGATIONS
5

6
       16. Defendant is attempting to collect an alleged debt from Ms. Jamison.

7      17. In or around October 2019, Merrick began placing calls to Ms. Jamison’s
8
          cellular phone number ending in 1847.
9
       18. The calls placed by Defendant originated from (866) 452-1144; (866) 341-
10

11        5762; (866) 452-1145; (866) 341-5762; (866) 523-9144; (866) 529-9848;

12        (877) 487-5597; (866) 831-8898; (866) 456-8600 and (877) 655-4496. Upon
13
          information and belief, these numbers are owned or operated by Defendant.
14
       19. On or about October 13, 2019, at approximately 5:12 p.m., Ms. Jamison
15

16        answered a call from Defendant. Plaintiff heard a short pause before one of
17        Defendant’s agents began to speak, indicating the use of an automated
18
          telephone dialing system.
19
       20. Defendant’s representative informed Ms. Jamison that Merrick was
20

21        attempting to collect a debt.
22
       21. During that call, Ms. Jamison told the representative that she was
23
          experiencing a financial hardship and could not make a payment. She stated
24

25




                          COMPLAINT AND DEMAND FOR JURY TRIAL
                                            -4-
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          that she was the only one working because her husband had surgery and
1

2         retired.
3
       22. Additionally, Ms. Jamison unequivocally revoked consent to be contacted
4
          on her cell phone and stated she would call Defendant when she could make
5

6
          a payment.

7      23. In response, the representative confirmed Plaintiff’s mailing address before
8
          the conversation ended.
9
       24. Despite Ms. Jamison expressly revoking her consent to be called, Defendant
10

11        continued its harassing campaign of automated debt collection calls.

12     25. Again, on or about March 8, 2020, 2019, at 1:17 p.m., Ms. Jamison answered
13
          another call from Defendant. Plaintiff heard a short pause before one of
14
          Defendant’s agents began to speak, indicating the use of an automated
15

16        telephone dialing system.
17     26. Defendant’s representative informed Ms. Jamison that it was attempting to
18
          collect a debt.
19
       27. During that call, Ms. Jamison indicated that she could not make a payment
20

21        and has not been to work because she had a hip replacement.
22
       28. Additionally, Ms. Jamison told the representative that she was stressed
23
          worrying about the situation.
24

25




                            COMPLAINT AND DEMAND FOR JURY TRIAL
                                            -5-
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       29. In the time between Ms. Jamison’s first revocation, on October 13, 2019, and
1

2         her second revocation, on March 8, 2020, her financial hardship had
3
          significantly worsened.
4
       30. Ms. Jamison had her hip replaced in November 2019. Before her surgery,
5

6
          Plaintiff experienced financial hardship that rendered her unable to make

7         regular payments to Merrick.
8
       31. But by November 2019, Plaintiff’s household was unable to earn any income
9
          for several months. Plaintiff knew there was no way she could afford to make
10

11        a payment until she was healthy enough to return to work.

12     32. Despite knowing that Ms. Jamison was experiencing health-related financial
13
          hardship, Merrick continued to call her cellular phone on a regular basis.
14
       33. Between October 13, 2019 and March 29, 2020, Merrick called Ms. Jamison
15

16        approximately one hundred and fifty (150) times without her consent.
17     34. Defendant called Ms. Jamison nearly every day, sometimes twice per day.
18
       35. Upon information and belief, Defendant even left numerous pre-recorded
19

20
          voicemails on Ms. Jamison’s cellular phone.

21     36. Upon information and belief, Defendant also placed calls to third parties in
22
          an attempt to collect on the alleged debt from Plaintiff.
23

24

25




                         COMPLAINT AND DEMAND FOR JURY TRIAL
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       37. Ms. Jamison suffers from lupus, an autoimmune disorder that is aggravated
1

2         by stress. Merrick’s relentless automated debt collection calls caused
3
          Plaintiff’s lupus to flare up.
4
       38. Additionally, Plaintiff is prescribed anti-depressants and anxiety medication
5

6
          to help cope with stress and her surgery. The relentless debt collection calls

7         caused additional Ms. Jamison additional stress and she began to take the
8
          prescription medication as a result of Defendant’s conduct.
9
       39. Merrick’s incessant phone calls exacerbated the existing stress and
10

11        emotional pain stemming from Ms. Jamison’s health issues.

12     40. Defendant’s conduct was not only willful but was done with the intention of
13
          causing Plaintiff such distress, so as to induce her to pay the debt.
14
       41. As a result of Defendant’s conduct, Ms. Jamison has sustained actual
15

16        damages including but not limited to, emotional and mental pain and
17        anguish, stress, anxiety, headaches, and frustration.
18
                                           COUNT I
19

20
                       (Violations of the TCPA, 47 U.S.C. § 227)

21     42. Plaintiff incorporates by reference all of the above paragraphs of this
22
          Complaint as though fully stated herein.
23
       43. Defendant violated the TCPA. Defendant’s violations include, but are not
24

25
          limited to the following:



                          COMPLAINT AND DEMAND FOR JURY TRIAL
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             a. Within four years prior to the filing of this action, on multiple
1

2                occasions, Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii)
3
                 which states in pertinent part, “It shall be unlawful for any person
4
                 within the United States . . . to make any call (other than a call made
5

6
                 for emergency purposes or made with the prior express consent of the

7                called party) using any automatic telephone dialing system or an
8
                 artificial or prerecorded voice — to any telephone number assigned to
9
                 a . . . cellular telephone service . . . or any service for which the called
10

11               party is charged for the call.”

12           b. Within four years prior to the filing of this action, on multiple
13
                 occasions, Defendant willfully and/or knowingly contacted Plaintiff
14
                 at Plaintiff’s cellular telephone using an artificial prerecorded voice or
15

16               an automatic telephone dialing system and as such, Defendant
17               knowing and/or willfully violated the TCPA.
18
       44. As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled
19

20
          to an award of five hundred dollars ($500.00) in statutory damages, for each

21        and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds
22
          that Defendant knowingly and/or willfully violated the TCPA, Plaintiff is
23
          entitled to an award of one thousand five hundred dollars ($1,500.00), for
24

25




                          COMPLAINT AND DEMAND FOR JURY TRIAL
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          each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C.
1

2         § 227(b)(3)(C).
3
                                       COUNT II
4
            (Violation of the Rosenthal Fair Debt Collection Practices Act,
5

6
                                 CAL. CIV. CODE § 1788)

7      45. Plaintiff incorporates by reference all of the above paragraphs of this
8
          Complaint as though fully stated herein.
9
       46. Defendant violated the RFDCPA. Defendant’s violations include, but are not
10

11        limited to, the following:

12           a. Defendant violated Cal. Civ. Code § 1788.11(d) by causing a
13
                telephone to ring repeatedly or continuously to annoy the person
14
                called;
15

16           b. Defendant violated Cal. Civ. Code § 1788.11(e), by communicating
17              by telephone with a debtor with such frequency as to be
18
                unreasonable and to constitute an harassment to the debtor under the
19

20
                circumstances;

21           c. Defendant violated Cal. Civ. Code § 1788.17 by collecting or
22
                attempting to collect a consumer debt without complying with the
23
                provisions of Sections 1692b to 1692j, inclusive, of . . . Title 15 of
24

25
                the United States Code (Fair Debt Collection Practices Act).



                          COMPLAINT AND DEMAND FOR JURY TRIAL
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                     i. Defendant violated Cal. Civ. Code § 1788.17 when it violated
1

2                       15 U.S.C. § 1692d by engaging in conduct, the natural
3
                        consequence of which is to harass, oppress or abuse any
4
                        person in connection with the collection of the alleged debt;
5

6
                        and

7                   ii. Defendant violated CAL. CIV. CODE § 1788.17 when it
8
                        violated 15 U.S.C. § 1692d(5) by causing Plaintiff’s phone to
9
                        ring or engaging Plaintiff in telephone conversations
10

11                      repeatedly;

12                  iii. Defendant violated CAL. CIV. CODE § 1788.17 when it
13
                        violated 15 U.S.C. § 1692f by using unfair or unconscionable
14
                        means in connection with the collection of an alleged debt;
15

16                      and
17      47. Defendant’s acts, as described above, were done intentionally with the
18
           purpose of coercing Plaintiff to pay the alleged debt.
19
        48. As a result of the foregoing violations of the RFDCPA, Defendant is liable
20

21         to Plaintiff for actual damages, statutory damages, and attorneys’ fees and
22
           costs.
23
                                        COUNT III
24

25
                               (Intrusion Upon Seclusion)



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        49. Plaintiff incorporates by reference all of the above paragraphs of this
1

2          Complaint as though fully stated herein.
3
        50. Restatement of the Law, Second, Torts, § 652(b) defines intrusion upon
4
           seclusion as, “One who intentionally intrudes… upon the solitude or seclusion
5

6
           of another, or his private affairs or concerns, is subject to liability to the other

7          for invasion of privacy, if the intrusion would be highly offensive to a
8
           reasonable person”.
9
        51. Defendant violated Plaintiff’s privacy. Defendant’s violations include, but are
10

11         not limited to, the following:

12            a. Defendant intentionally intruded, physically or otherwise, upon
13
                  Plaintiff’s solitude and seclusion by engaging in harassing phone calls
14
                  in an attempt to collect on an alleged debt despite Ms. Miller’s
15

16                revocation of consent to be called.
17            b. The number and frequency of the telephone calls to Plaintiff by
18
                  Defendant after revoking consent to be called constitute an intrusion on
19

20
                  Plaintiff's privacy and solitude.

21            c. Defendant’s conduct would be highly offensive to a reasonable person
22
                  as Plaintiff received calls that often-interrupted Plaintiff’s daily
23
                  schedule.
24

25




                           COMPLAINT AND DEMAND FOR JURY TRIAL
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              d. Defendant’s acts, as described above, were done intentionally with the
1

2                purpose of coercing Plaintiff to pay the alleged debt.
3
        52. As a result of Defendant’s violations of Plaintiff’s privacy, Defendant is
4
           liable to Plaintiff for actual damages.
5

6
                                 PRAYER FOR RELIEF

7          WHEREFORE, Plaintiff Tisha Jamison respectfully requests judgment be
8
     entered against Defendant Merrick Bank, for the following:
9
              A. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C.
10

11               § 227(b)(3)(C);

12            B. Declaratory judgment that Defendant violated the RFDCPA;
13
              C. Statutory damages of $1,000.00 pursuant to the RFDCPA, Cal. Civ.
14
                 Code §1788.30(b);
15

16            D. Actual damages pursuant to Cal. Civ. Code §1788.30(a) and §
17               1788.30(b);
18
              E. Costs and reasonable attorneys’ fees pursuant to Cal. Civ. Code
19

20
                 §1788.30(c);

21            F. Punitive damages to be determined at trial, for the sake of example
22
                 and punishing Defendant for their malicious conduct, pursuant to Cal.
23
                 Civ. Code § 3294(a).
24

25




                          COMPLAINT AND DEMAND FOR JURY TRIAL
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               G. Awarding Plaintiff any pre-judgment and post-judgment interest as
1

2                  may be allowed under the law; and
3
               H. Any other relief that this Honorable Court deems appropriate.
4
                                DEMAND FOR JURY TRIAL
5

6
            Pursuant to Federal Rule of Civil Procedure 38, Plaintiff hereby demands a

7    trial by jury of all issues triable by jury.
8

9

10                                             RESPECTFULLY SUBMITTED,

11
     Dated: August 18, 2020                    By: /s/ Youssef H. Hammoud .
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17                                             Tisha Jamison
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